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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                     COURT FILE NO.: 15-cv-1185 ADM/TNL

 D. Weber,

                   Plaintiff,                      NOTICE OF DISMISSAL WITH
 v.                                                       PREJUDICE

 Diversified Adjustment Service, Inc.,

                 Defendant.

      NOTICE IS HEREBY GIVEN that the above-entitled action by Plaintiff may be,

and hereby is dismissed on its merits with prejudice, without costs, disbursements or

attorney’s fees to any party, and that a judgment of dismissal with prejudice and on the

merits may be entered in the above-entitled action pursuant hereto as to Defendant.



Dated this 8th day of April, 2015.
                                              By: s/Thomas J. Lyons Jr.____________
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